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                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

                                   MEMORANDUM

Honorable Kimberly J. Mueller                  RE: Wei Hu
United States District Judge                       Docket Number: 2:14CR00220-07
Sacramento, California                             PERMISSION TO TRAVEL
                                                   OUTSIDE THE COUNTRY

Your Honor:


Wei Hu is requesting permission to travel to Hong Kong, China. He is current with all supervision
obligations, and the probation officer recommends approval be granted.


Conviction and Sentencing Date: On November 9, 2016, Wei Hu was sentenced for the offense
of 21 USC 846 and 841(a)(1), Conspiracy to Manufacture Marijuana (Class C Felony).


Sentence Imposed: 12 months and 1 day custody in Bureau of Prisons; 3 years Supervised
Release; and $100 Special Assessment (paid).


Dates and Mode of Travel: March 1, 2019, through May 26, 2019. Mode of travel is by airline.


Purpose: Vacation.




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                                                                                                 REV. 03/2017
                                                                  TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
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RE:      Wei Hu
         Docket Number: 2:14CR00220-07
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                       Respectfully submitted,




                                       ADRIAN GARCIA
                                  United States Probation Officer

Dated:     February 19, 2019
           Fresno, California
           AG/rv


REVIEWED BY:                     /s/ Tim Mechem
                                TIM D. MECHEM
                                Supervising United States Probation Officer



                                    ORDER OF THE COURT

The Court orders:

         ☒ Approved ☐ Disapproved

DATED: February 25, 2019.


                                                     UNITED STATES DISTRICT JUDGE




                                                 2
                                                                                                   REV. 03/2017
                                                                    TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
